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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7

CHRISTMAS TREE SHOPS, LLC., et al.,                        Case No. 23-10576 (TMH)

                                   Debtors.1               (Jointly Administered)

                                                           Re: Docket Nos. 639, 640, 641, 642, 643, 644,
                                                           654, and 646


              CHAPTER 7 TRUSTEE’S OMNIBUS RESPONSE TO FINAL FEE
               APPLICATIONS OF CHAPTER 11 ESTATE PROFESSIONALS

         George L. Miller, chapter 7 trustee (the “Trustee”) to the estates of the above-captioned

debtors (the “Debtors”) files this omnibus response (this “Response”) to the final fee applications

of chapter 11 estate professionals (the “Applications”) filed in this case. In support of the

Objection, the Trustee submits as follows:

                                           Preliminary Statement

         1.      The Trustee does not object to allowance of the fees and expenses sought in the

Applications. However, the Trustee objects to the Applications to the extent they seek

immediate payment for the full amounts stated from general estate funds because there is not

enough cash in the Debtors’ estates and there are millions of dollars in chapter 11 administrative

expense claims asserted by other creditors against the estates.

         2.      The Trustee is statutory fiduciary on behalf of all creditors. See In re Wisdom,

478 B.R. 394, 399 (Bankr. D. Idaho 2012) (a chapter 7 trustee is described as a fiduciary charged




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    The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
    as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
    Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).


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with protecting the interests of all creditors of the estate). To that end, the Trustee must be

careful not to prefer similarly-situated creditors over others.

        3.       The Trustee is still in the process of reviewing the applicable financing orders and

related documents and budgets to understand the Professionals’ entitlement to payment from

professional fee reserve carveout amounts. The Trustee needs to understand how Professionals

were treated among each other and how the Professionals were treated relative to other

administrative creditors. To that end, it is possible that some Professionals may have to later

disgorge amounts received so that the Professionals are treated equally.

                                            Background

        2.       On May 5, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).

        3.       On August 16, 2023, the Court entered an order converting the Chapter 11 Cases

to cases under chapter 7 of the Bankruptcy Code (the “Conversion Order”) [Docket No. 545].

        4.       On the same date, the Office of the United States Trustee (the “U.S. Trustee”)

appointed George L. Miller as the chapter 7 trustee in these cases [Docket No. 546].

        5.       These cases are being jointly administered for procedural purposes only pursuant

to Bankruptcy Rule 1015(b) and Local Rule 1015-1.

        6.       The Debtors operated a chain of brick-and-mortar home goods retail stores that

specialized in the sale of year-round seasonal goods at value pricing. The Debtors’ stores offered

a variety of products including home décor, bed and bath products, kitchen and dining products,

furniture, food, and seasonal products. As of the Petition Date, the Debtors operated 82 stores in

20 states.

        7.       A description of the Debtors and their business, and the facts and circumstances

surrounding the chapter 11 cases, are set forth in greater detail in the Declaration of Marc

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Salkovitz, Executive Chairman, in Support of First Day Relief [Docket No. 12] and the

Supplemental Declaration of Marc Salkovitz, Executive Chairman, in Support of First Day Relief

[Docket No. 23].

        8.       On June 5, 2023, the Court entered a final DIP financing order [Docket No. 229]

(the “Final DIP Order”). On July 13, 2023, the Court entered a supplemental order to the Final

DIP Order (the “Supplemental DIP Order”) [Docket No. 431]. The Supplemental DIP Order

amended certain professional fee carveouts for the estate professionals. See Supplemental DIP

Order ¶8.

        9.       In accordance with the Order Authorizing Establishing Procedures for Interim

Compensation and Reimbursement of Expenses (the “Interim Compensation Order”) [Docket

No. 258] various estate professionals in the Chapter 11 Cases (the “Professionals”) filed

applications seeking allowance and payment of compensation and reimbursement of expenses

during the course of the Chapter 11 Cases.

        10.      Following the Conversion Order, the Trustee understands that the Professionals

have indicated that: (a) the Supplemental DIP Order established certain carveouts for fees and

expenses for Debtor Professionals for certain periods and that carveout amounts are capped and

subject to the applicable budget in accordance with the terms of the order;2 and (b) the Trustee

has been advised that there was no segregation of the carveout amounts for Professionals’ fees,

through a Professional Fee Reserve as required under paragraph 2.3(b) of the Final DIP Order;

rather, the amounts were comingled with other funds of the Debtors.

        11.      Pursuant to a prior order in these cases following conversion [Docket No. 606],

the Trustee has received $2,873,844.04 from Bank of America that were on deposit in the



2
 See Docket No. 639 at footnote 2 (Murphy & King Final Fee Application) and Docket No. 640 at footnote 2
(Troutman Pepper Hamilton Sanders LLP Final Fee Application).

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Debtors’ former bank accounts with Bank of America. The Trustee is also in the process of

reconciling various claims made by former employees for unpaid wages and other compensation.

        12.        Thus, the Trustee holds money on behalf of the Debtors’ estates for which there

are competing claims – professionals for carveout amounts and unpaid administrative expenses

for fees and former employees for unpaid wages – and the Trustee needs to reconcile the asserted

claims against those funds to determine which parties are entitled to payment.

        13.        Accordingly, no final fee order should contain language requiring immediate

payment for allowed Professionals’ fees and expenses. The Trustee has no objection to

allowance of fees and expenses but the Professionals will be paid as and when the Trustee

determines they can be paid from either available funds, or the Professionals will retain a chapter

11 administrative expense claim that will receive a distribution at an appropriate time later in the

case.

                                          The Final Fee Applications

        14.        The Professionals have filed the Applications, which seek allowance and

payment, as detailed below:

                                                                PERIOD          FEES          EXPENSES
  PROFESSIONAL                  ROLE                D.I.
                                                               COVERED       REQUESTED       REQUESTED
Murphy & King,
                             Debtors’
Professional                                  639          5/5/23-8/16/23   $665,268.50     $16,644.80
                             counsel
Corporation
                             Debtors’
Troutman Pepper
                             Delaware         640          5/5/23-8/16/23   $596,603.00     $6,710.44
Hamilton Sanders LLP
                             counsel
Porzio, Bromberg &           Counsel to                    5/22/23-
                                              641                           $497,271.75     $8,561.45
Newman, P.C.                 Committee                     8/16/23
                             Administrative
Kurtzman Carson
                             Advisor to       642          5/5/23-8/16/23   $29,544.24      $0
Consultants, LLC
                             Debtors
                             Financial
FAAN Advisors
                             Advisor to       643          5/5/23-8/16/23   $239,507.70     $0
Group, Inc.
                             Debtors



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                                                               PERIOD        FEES          EXPENSES
  PROFESSIONAL                  ROLE             D.I.
                                                              COVERED     REQUESTED       REQUESTED
                             Delaware
Womble Bond                                               5/22/23-
                             Counsel to    644                           $309,918.50     $6,515.90
Dickinson (US) LLP                                        8/16/23
                             Committee
                             Financial
Rock Creeek Advisors,                                     5/23/23-
                             Advisors to   645                           $233,748.00     $0.00
LLC                                                       8/16/23
                             Committee

                                                        TOTAL:           $2,571,861.69   $38,432.59



                                            Basis for Response

        15.      The Trustee objects to the Applications to the extent they seek immediate

payment from general estate funds for the full amounts stated because there is not current enough

funds available in the estates to pay all Professionals in full and there are millions of dollars in

asserted chapter 11 administrative expense claims from other creditors.

        16.      The Trustee does not object to the allowance of the amounts stated in the

Applications if the Court and the U.S. Trustee are satisfied that the amounts sought as

compensation or for reimbursement as expenses meet the applicable standards under the

Bankruptcy Code, Bankruptcy Rules, and the Local Rules.

        17.      The Trustee is working diligently to liquidate the Debtors’ assets and recover

available funds for the Debtors’ estates but cannot at this time pay all of the amounts requested

in the Applications in full. Accordingly, he requests the Court not enter any orders that have

language requiring immediate payment of all amounts to the chapter 11 estate professionals.

Instead, any final fee orders should include language that permits allowance of final fees and, to

the extent applicable, recovery from any applicable professional fee reserve carveout if the

Trustee determines that such funds are indeed “carveout” funds but no other amounts from the

estates at this time. Instead, the remaining amounts owed to the Professionals should only come

in the form of an asserted chapter 11 administrative expense claim.

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        18.      In addition, the final fee order for any Professional should contain language that

the order does not operate as res judicata of any claims or causes of action by the Trustee against

any of the Professionals, including, but not limited to, the Trustee’s rights to seek disgorgement

of fees and expenses from any of the Professionals at any time before the chapter 7 cases are

closed are preserved, and all the Professionals’ rights to dispute such claims or causes of action

are preserved

                                       Reservation of Rights

        19.      The Trustee expressly reserves all rights to supplement this Objection on any and

all available substantive and non-substantive grounds that bankruptcy and non-bankruptcy law

permits.

                                             Conclusion

        20.      Based on the foregoing, the Trustee respectfully requests that the Court only

approve the Applications through orders (or an omnibus final fee order) that contain appropriate

language consistent with the above, and grant such other relief as is just and proper.




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Dated: October 6, 2023         PACHULSKI STANG ZIEHL & JONES LLP

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